                                                                                                                                                                       10/28/2011 09:32:10am
B1 (Official Form 1) (4/10)                                                                                                                                           Bar No#: 31273
                                            UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON                                                                                       Voluntary Petition
                                                    SEATTLE DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Stehl, William

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-2374                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
52215 S. Riverside Road
Gold Bar, WA
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            98251
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Snohomish
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
52215 S. Riverside Road
Gold Bar, WA
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            98251
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                              ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     þ       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                   ¨ Chapter  15 Petition for Recognition
                                                                                                                                                           of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                  ¨ Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker
                                                                                                     ¨                                                         of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker
                                                                                                             Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                         ¨     Debts are primarily
                                                                                                                                                               business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                       Chapter 11 Debtors
 ¨      Full Filing Fee attached.                                                                    ¨ Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
                                                                                                     ¨ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
 þ      Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court's consideration certifying that the debtor is
                                                                                                     Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨ Debtor's   aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                        insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
                                                                                                             on 4/01/13 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.               Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                     ¨
                                                                                                                                                     Over
                                                         5,000            10,000           25,000               50,000              100,000          100,000
 Estimated Assets
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
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                 Case 11-22579-KAO                               Doc 1          Filed 10/28/11                      Ent. 10/28/11 09:33:58                             Pg. 1 of 46
                                                                                                                                                             10/28/2011 09:32:10am
B1 (Official Form 1) (4/10)                                                                                                                                                 Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    William Stehl
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 Western Washington - Seattle                                                               11-15284                                       5/3/2011
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Christina Latta Henry                                         10/28/2011
                                                                                                 Christina Latta Henry                                                 Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                Case 11-22579-KAO                             Doc 1        Filed 10/28/11                  Ent. 10/28/11 09:33:58                          Pg. 2 of 46
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B1 (Official Form 1) (4/10)                                                                                                                                                   Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     William Stehl
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ William Stehl
      William Stehl
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     10/28/2011
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Christina Latta Henry                                                             defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Christina Latta Henry                            Bar No. 31273                         have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Seattle Debt Law, LLC
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 705 Second Ave. Suite 1050                                                                  given the debtor notice of the maximum amount before preparing any document
 Seattle, WA 98104                                                                           for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


 Phone No.______________________ Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     10/28/2011
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
In re:   William Stehl                                                                   Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


¨   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


þ    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
The Debtor had a prior Certificate - but it expired on 10/7/2011 and he did not realize it. he has to file to day to avoid a
foreclosure on 11/3/2011 and to move his state mediation date. The ceritficate will be filed by Monday 10/31/2011


If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.




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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
In re:   William Stehl                                                                Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ William Stehl
                       William Stehl

Date:       10/28/2011




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B6A (Official Form 6A) (12/07)



In re William Stehl                                                                 Case No.
                                                                                                                          (if known)



                                            SCHEDULE A - REAL PROPERTY


                                                                                                                       Current Value




                                                                                             Husband, Wife, Joint,
                                                                                                                        of Debtor's
                   Description and                                 Nature of Debtor's




                                                                                               or Community
                                                                                                                         Interest in
                     Location of                                  Interest in Property
                                                                                                                     Property, Without      Amount Of
                      Property                                                                                                             Secured Claim
                                                                                                                      Deducting Any
                                                                                                                      Secured Claim
                                                                                                                       or Exemption


 Residence                                                   Fee Simple                         -                        $145,500.00          $223,482.61
 52215 S. Riverside Rd.
 Gold Bar, WA 98251

 (The Debtor has a state mediation hearing set for
 Nov 3, 2011 for a loan modification on this property).




                                                                                         Total:                          $145,500.00
                                                                                         (Report also on Summary of Schedules)




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B6B (Official Form 6B) (12/07)




In re William Stehl                                                                       Case No.
                                                                                                       (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                             Husband, Wife, Joint,
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                               or Community
                                                                                                                                        in Property,
                                          None                                                                                       Without Deducting
             Type of Property                                   Description and Location of Property                                   any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption

1. Cash on hand.                                 Cash on Hand                                                      -                          $25.00


2. Checking, savings or other finan-             Wells Fargo Checking Account                                      -                       $2,100.00
cial accounts, certificates of deposit           Account No: xxxxx5739
or shares in banks, savings and loan,
thrift, building and loan, and home-             Wells Fargo Savings Account                                       -                       $2,500.00
stead associations, or credit unions,            Account No.: xxxx5317
brokerage houses, or cooperatives.
                                                 Eaton Employees Credit Union                                      -                          $28.78
                                                 Account No.: xxxxx1584

                                                 Wells Fargo Checking                                              -                         $100.00
                                                 (Son's Account - Martin Stehl
                                                  Wlliam Stehl is a signer)
                                                 Acct# xxxxx4900


3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Household Goods and Furnishings                                   -                       $3,485.00
including audio, video and computer
equipment.

5. Books; pictures and other art                 Books, Pictures, and Movies                                       -                         $330.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                          -                         $500.00



7. Furs and jewelry.                      X

8. Firearms and sports, photo-            X
graphic, and other hobby equipment.




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B6B (Official Form 6B) (12/07) -- Cont.




In re William Stehl                                                                         Case No.
                                                                                                          (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 1




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,
                                           None                                                                                          Without Deducting
             Type of Property                                     Description and Location of Property                                     any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


9. Interests in insurance policies.               West Coast Life Ins                                                  -                           $0.00
Name insurance company of each                    Acct# xxxxx0627
policy and itemize surrender or                   Term Life
refund value of each.
                                                  Farmer's NW Life Ins                                                 -                           $0.00
                                                  Acct# xxxxxxxx7849
                                                  Term Life

                                                  Protective Lif Ins.                                                  -                           $0.00
                                                  Acct# xxxx0701
                                                  Term Life Ins


10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Wells Fargo IRA                                                      -                         $163.36
or other pension or profit sharing                Account No.: xxxx-5258
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.




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B6B (Official Form 6B) (12/07) -- Cont.




In re William Stehl                                                                       Case No.
                                                                                                        (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                           Continuation Sheet No. 2




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,
                                            None                                                                                       Without Deducting
             Type of Property                                  Description and Location of Property                                      any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.




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                                                                                                                                     10/28/2011 09:32:10am
B6B (Official Form 6B) (12/07) -- Cont.




In re William Stehl                                                                         Case No.
                                                                                                          (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 3




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,
                                           None                                                                                          Without Deducting
             Type of Property                                     Description and Location of Property                                     any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                1996 Jeep Grand Cherokee                                             -                         $908.00
and other vehicles and accessories.
                                                  1977 Corvette                                                        -                       $3,000.00


26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,                Shredder                                                             -                         $100.00
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.




            Case 11-22579-KAO                  Doc 1         Filed 10/28/11             Ent. 10/28/11 09:33:58              Pg. 10 of 46
                                                                                                                                              10/28/2011 09:32:10am
B6B (Official Form 6B) (12/07) -- Cont.




In re William Stehl                                                                           Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None                                                                                                Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                           $13,240.14
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)




            Case 11-22579-KAO                     Doc 1      Filed 10/28/11             Ent. 10/28/11 09:33:58                       Pg. 11 of 46
                                                                                                                                 10/28/2011 09:32:11am
B6C (Official Form 6C) (4/10)



In re William Stehl                                                                               Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:               ¨    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $146,450.*

 þ    11 U.S.C. § 522(b)(2)
 ¨    11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                 Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                            Exemption
                                                                                                                                     Exemption



 Cash on Hand                                             11 U.S.C. § 522(d)(5)                                     $25.00                   $25.00

 Wells Fargo Checking Account                             11 U.S.C. § 522(d)(5)                                 $2,100.00                 $2,100.00
 Account No: xxxxx5739

 Wells Fargo Savings Account                              11 U.S.C. § 522(d)(5)                                 $2,500.00                 $2,500.00
 Account No.: xxxx5317

 Eaton Employees Credit Union                             11 U.S.C. § 522(d)(5)                                     $28.78                   $28.78
 Account No.: xxxxx1584

 Wells Fargo Checking                                     11 U.S.C. § 522(d)(5)                                   $100.00                   $100.00
 (Son's Account - Martin Stehl
  Wlliam Stehl is a signer)
 Acct# xxxxx4900

 Household Goods and Furnishings                          11 U.S.C. § 522(d)(3)                                 $3,485.00                 $3,485.00

 Books, Pictures, and Movies                              11 U.S.C. § 522(d)(3)                                   $330.00                   $330.00

 Clothing                                                 11 U.S.C. § 522(d)(3)                                   $500.00                   $500.00

 Wells Fargo IRA                                          11 U.S.C. § 522(d)(12)                                  $163.36                   $163.36
 Account No.: xxxx-5258

 1996 Jeep Grand Cherokee                                 11 U.S.C. § 522(d)(2)                                      $0.00                  $908.00

 1977 Corvette                                            11 U.S.C. § 522(d)(2)                                 $3,000.00                 $3,000.00

 Shredder                                                 11 U.S.C. § 522(d)(6)                                   $100.00                   $100.00

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases
                                                                                                               $12,332.14               $13,240.14
commenced on or after the date of adjustment.




            Case 11-22579-KAO                    Doc 1        Filed 10/28/11            Ent. 10/28/11 09:33:58               Pg. 12 of 46
                                                                                                                                                              10/28/2011 09:32:11am
B6D (Official Form 6D) (12/07)
          In re William Stehl                                                                                            Case No.
                                                                                                                                                       (if known)



                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                    AMOUNT OF          UNSECURED




                                                                                                                                  UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                      CLAIM            PORTION, IF




                                                                                                                                   CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                    DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                      WITHOUT              ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                    DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                        VALUE OF
                                                                                             PROPERTY SUBJECT                                    COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    05/01/09
ACCT #: 208737925                                                                 NATURE OF LIEN:
                                                                                  Fee Simple
BAC Home Loans Servicing, LP                                                      COLLATERAL:
                                                                                  Residence                                                        $192,046.58         $46,546.58
7105 Corporate Dr                                               -                 REMARKS:
Mail Stop TX2-982-03-03
Plano, TX 75024


                                                                                  VALUE:                           $145,500.00



edNoticingPartiesDesignation                                                      Dale Galvin                                                     Notice Only        Notice Only
BAC Home Loans Servicing, LP                                                      6100 219th St SW, Ste 560
                                                                                  Mountlake Terrace, WA 98043




edNoticingPartiesDesignation                                                      Gauri Shrotriya Locker                                          Notice Only        Notice Only
BAC Home Loans Servicing, LP                                                      Routh Crabtree Olsen, PS
                                                                                  13555 SE 36th St., Ste 300
                                                                                  Bellevue, WA 98006




                                                                                  DATE INCURRED:    Various
ACCT #: 20873****                                                                 NATURE OF LIEN:
                                                                                  Arrearage claim
BAC Home Loans Servicing, LP                                                      COLLATERAL:
                                                                                  Residence                                                         $11,866.68           $5,116.68
7105 Corporate Dr                                               -                 REMARKS:
Mail Stop TX2-982-03-03
Plano, TX 75024


                                                                                  VALUE:                             $6,750.00
                                                                                                         Subtotal (Total of this Page) >            $203,913.26          $51,663.26
                                                                                                        Total (Use only on last page) >
________________continuation
       2                     sheets attached                                                                                                     (Report also on    (If applicable,
                                                                                                                                                 Summary of         report also on
                                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                                    Summary of
                                                                                                                                                                    Certain Liabilities
                                                                                                                                                                    and Related
                                                                                                                                                                    Data.)




           Case 11-22579-KAO                   Doc 1                                 Filed 10/28/11              Ent. 10/28/11 09:33:58                     Pg. 13 of 46
                                                                                                                                                                10/28/2011 09:32:11am
B6D (Official Form 6D) (12/07) - Cont.
          In re William Stehl                                                                                              Case No.
                                                                                                                                                         (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                    AMOUNT OF          UNSECURED




                                                                                                                                    UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                      CLAIM            PORTION, IF




                                                                                                                                     CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                      DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                      WITHOUT              ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                    DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                        VALUE OF
                                                                                               PROPERTY SUBJECT                                    COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:    Various
ACCT #: 2741****                                                                    NATURE OF LIEN:
                                                                                    Arrearage claim
BAC Home Loans Servicing, LP                                                        COLLATERAL:
                                                                                    Residence                                                          $1,000.00
7105 Corporate Dr                                                 -                 REMARKS:
Mail Stop TX2-982-03-03
Plano, TX 75024


                                                                                    VALUE:                             $1,000.00
                                                                                    DATE INCURRED:    06/2009
ACCT #: 67470132-0126839                                                            NATURE OF LIEN:
                                                                                    Car Loan
CitiFinancial                                                                       COLLATERAL:
                                                                                    1996 Jeep Grand Cherokee                                           $6,979.26           $6,071.26
PO Box 183178                                                     -                 REMARKS:
Columbus, OH43218-3178



                                                                                    VALUE:                               $908.00



edNoticingPartiesDesignation                                                        Citifinancial, Inc.                                             Notice Only        Notice Only
CitiFinancial                                                                       221 SE Everett Mall Way M4
                                                                                    Everett, WA 98208-3254




edNoticingPartiesDesignation                                                        OneMain Financial Customer Care                                 Notice Only        Notice Only
CitiFinancial                                                                       NTBS-2320
                                                                                    6801 Colwell Blvd.
                                                                                    Irving, TX. 75039




Sheet no. __________
               1       of __________
                                2     continuation sheets attached                                         Subtotal (Total of this Page) >               $7,979.26           $6,071.26
to Schedule of Creditors Holding Secured Claims                                                           Total (Use only on last page) >
                                                                                                                                                   (Report also on    (If applicable,
                                                                                                                                                   Summary of         report also on
                                                                                                                                                   Schedules.)        Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)




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                                                                                                                                                               10/28/2011 09:32:11am
B6D (Official Form 6D) (12/07) - Cont.
          In re William Stehl                                                                                              Case No.
                                                                                                                                                        (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                    AMOUNT OF         UNSECURED




                                                                                                                                    UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                      CLAIM           PORTION, IF




                                                                                                                                     CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                      DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                      WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                    DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                        VALUE OF
                                                                                               PROPERTY SUBJECT                                    COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:    04/01/07
ACCT #: 89809539                                                                    NATURE OF LIEN:
                                                                                    Line of Credit
Green Tree                                                                          COLLATERAL:
                                                                                    Residence                                                         $31,436.03        $31,436.03
PO Box 94710                                                      -                 REMARKS:
Palatine, IL 60094-4710                                                             2d Mortgage




                                                                                    VALUE:                           $145,500.00



edNoticingPartiesDesignation                                                        Green Tree Servicing LLC                                        Notice Only       Notice Only
Green Tree                                                                          PO Box 0049
                                                                                    Palatine, IL 60055-0049




Sheet no. __________
               2       of __________
                                2     continuation sheets attached                                         Subtotal (Total of this Page) >             $31,436.03         $31,436.03
to Schedule of Creditors Holding Secured Claims                                                           Total (Use only on last page) >             $243,328.55          $89,170.55
                                                                                                                                                   (Report also on   (If applicable,
                                                                                                                                                   Summary of        report also on
                                                                                                                                                   Schedules.)       Statistical
                                                                                                                                                                     Summary of
                                                                                                                                                                     Certain Liabilities
                                                                                                                                                                     and Related
                                                                                                                                                                     Data.)




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                                                                                                                                     10/28/2011 09:32:11am
B6E (Official Form 6E) (04/10)

In re William Stehl                                                                               Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

¨ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,600* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


þ   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached




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                                                                                                                                                            10/28/2011 09:32:11am
B6E (Official Form 6E) (04/10) - Cont.
In re William Stehl                                                                                                        Case No.
                                                                                                                                                    (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY      Taxes and Certain Other Debts Owed to Governmental Units




                                                        HUSBAND, WIFE, JOINT,




                                                                                                                       UNLIQUIDATED
                                                                                                                        CONTINGENT
                                                          OR COMMUNITY
                                             CODEBTOR
            CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                             AMOUNT          AMOUNT      AMOUNT




                                                                                                                         DISPUTED
             MAILING ADDRESS                                                       AND CONSIDERATION FOR                                OF          ENTITLED TO     NOT
           INCLUDING ZIP CODE,                                                             CLAIM                                       CLAIM         PRIORITY   ENTITLED TO
         AND ACCOUNT NUMBER                                                                                                                                     PRIORITY, IF
          (See instructions above.)                                                                                                                                 ANY


ACCT #: xxx-xx-2374                                                             DATE INCURRED:   2008
                                                                                CONSIDERATION:
IRS                                                                             1040 Taxes                                              $4,714.05       $4,714.05           $0.00
PO Box 7346                                                                     REMARKS:
Philadelphia PA 19101-7346                                      -




edNoticingPartiesDesignation                                                    IRS                                                   Notice Only     Notice Only     Notice Only
IRS                                                                             PO Box 21125
                                                                                Philadelphia, PA 19114




Sheet no. __________
               1       of __________
                               1       continuation sheets                                   Subtotals (Totals of this page) >          $4,714.05       $4,714.05           $0.00
attached to Schedule of Creditors Holding Priority Claims                              Total >                                          $4,714.05
                                      (Use only on last page of the completed Schedule E.
                                      Report also on the Summary of Schedules.)

                                                                                         Totals >                                                       $4,714.05           $0.00
                                      (Use only on last page of the completed Schedule E.
                                      If applicable, report also on the Statistical Summary
                                      of Certain Liabilities and Related Data.)




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                                                                                                                                               10/28/2011 09:32:12am
B6F (Official Form 6F) (12/07)
  In re William Stehl                                                                                          Case No.
                                                                                                                          (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨ Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                AMOUNT OF




                                                                                                                                UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                   CLAIM




                                                                                                                                 CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                  DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
ABN AMRO Mortgage                                                                     Notice Only                                                    Notice Only
PO Box 9438                                                                           REMARKS:
                                                                  -
Gaithersburg, MD 20898



ACCT #: 54006                                                                         DATE INCURRED:
                                                                                      CONSIDERATION:
American Express                                                                      Credit Card                                                         $661.71
P.O.Box 650448                                                                        REMARKS:
                                                                  -
Dallas, TX 75265-0448



ACCT #: 14003447002527374                                                             DATE INCURRED:
                                                                                      CONSIDERATION:
Capital One                                                                           Credit Card                                                       $1,876.72
PO Box 60599                                                                          REMARKS:
                                                                  -
City of Industry, CA 91716




edNoticingPartiesDesignation                                                          Weinstein and Riley PS                                         Notice Only
Capital One                                                                           PO Box 3978
                                                                                      Seattle, WA 98124-0000



ACCT #: 8004                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card                                                       $5,854.25
PO BOX 15145                                                                          REMARKS:
                                                                  -
Wilmington, DE 19850-5145



ACCT #: 2974                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card                                                       $3,802.68
PO BOX 15145                                                                          REMARKS:
                                                                  -
Wilmington, DE 19850-5145



                                                                                                                            Subtotal >                  $12,195.36

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       4                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)




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                                                                                                                                                         10/28/2011 09:32:12am
B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                                   Case No.
                                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                         CLAIM




                                                                                                                                           CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 edNoticingPartiesDesignation                                                             CR Evergreen II, LLC                                                 Notice Only
 Chase                                                                                    MS 550
                                                                                          PO Box 91121
                                                                                          Seattle, WA 98111-9221


ACCT #: 607471323012****                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Citi Financial                                                                            Credit Card                                                             $6,979.00
300 St Paul Place                                                                         REMARKS:
                                                                      -
BSP13A
Baltimore, MD 21202

ACCT #: 546616011552****                                                                  DATE INCURRED:   01/01/2007
                                                                                          CONSIDERATION:
Citibank                                                                                  Credit Card                                                             $6,388.00
701 E 60th St N                                                                           REMARKS:
                                                                      -
Sioux Falls, SD 57104




 edNoticingPartiesDesignation                                                             Citibank Credit Services, Inc.                                       Notice Only
 Citibank                                                                                 Alliance One Receivables Managment Inc.
                                                                                          PO Box 3107
                                                                                          Southeastern, PA 19398-3107


ACCT #: 5466160415526087                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Citicorp Credit Services                                                                  Credit Card                                                            $10,524.45
Processing Center                                                                         REMARKS:
                                                                      -
Des Moines, IA 50364-0001



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Department of Commerce                                                                    State Mediation for Loan Mod                                            Unknown
1011 Plum Street SE                                                                       REMARKS:
                                                                      -
PO Box 42525
Olympia, WA 98504-2525

Sheet no. __________
              1        of __________
                               4     continuation sheets attached to                                                                  Subtotal >                  $23,891.45
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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                                                                                                                                                    10/28/2011 09:32:12am
B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                              Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 5421611442                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
FedLoan Servicing                                                                         Student Loans                                                     $20,500.00
PO Box 69184                                                                              REMARKS:
                                                                      -
Harrisburg, PA 17106-9184




 edNoticingPartiesDesignation                                                             New Hampshire Education Assistance                              Notice Only
 FedLoan Servicing                                                                        4 Barrell Court
                                                                                          PO Box 2097
                                                                                          Concord, NH 03302


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Northwest Trustee Services, Inc                                                           Notice Only                                                     Notice Only
c/o Vonnie McElligott                                                                     REMARKS:
                                                                      -
PO Box 997
Bellevue, WA 98009-997

ACCT #: Steh0000001                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Redwood Eye Clinic                                                                        Medical Bill                                                         $285.05
17601 140th Ave. NE Ste 200                                                               REMARKS:
                                                                      -
Woodinville, WA 98072



ACCT #: 1021079                                                                           DATE INCURRED:
                                                                                          CONSIDERATION:
Sallie Mae                                                                                Student Loans                                                     $56,403.36
P.O. Box 9500                                                                             REMARKS:
                                                                      -
Wilkes-Barre, PA 18773-9500



ACCT #: 6583                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo                                                                               Credit Card                                                       $13,328.00
PO BOX 9210                                                                               REMARKS:
                                                                      -
DES MOINES, IA 50306



Sheet no. __________
              2        of __________
                               4     continuation sheets attached to                                                             Subtotal >                  $90,516.41
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




            Case 11-22579-KAO                  Doc 1                         Filed 10/28/11                   Ent. 10/28/11 09:33:58           Pg. 20 of 46
                                                                                                                                                         10/28/2011 09:32:12am
B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                                Case No.
                                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                         CLAIM




                                                                                                                                           CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.



 edNoticingPartiesDesignation                                                             Wells Fargo Bank, NA                                                 Notice Only
 Wells Fargo                                                                              c/o Wells Fargo Card Services
                                                                                          Recivery Department
                                                                                          PO Box 9210
                                                                                          Des Moines, IA 50306

ACCT #: 17765133                                                                          DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo Bank, NA                                                                      Credit Card                                                            $11,410.34
PO Box 10438 MAC X2505-016                                                                REMARKS:
                                                                      -
Des Moines, IA 50306



ACCT #: 6628755345                                                                        DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo BK NV                                                                         Line of Credit                                                         $10,524.42
PO Box 3117                                                                               REMARKS:
                                                                      -
Winston-Salem, NC 27102




 edNoticingPartiesDesignation                                                             Wells Fargo Servicing Center                                         Notice Only
 Wells Fargo BK NV                                                                        Personal Credit Mgmt Payment Processing
                                                                                          MAC Q2132-013
                                                                                          PO Box 94423
                                                                                          Albequerque, NM 87199-9833

ACCT #: 6048700006210666                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo Financial                                                                     Credit Card                                                             $5,065.41
PO Box 660041                                                                             REMARKS:
                                                                      -
Dallas, TX 75266




 edNoticingPartiesDesignation                                                             Wells Fargo Bank                                                     Notice Only
 Wells Fargo Financial                                                                    4137 121st St
                                                                                          Urbandale, IA 50323



Sheet no. __________
              3        of __________
                               4     continuation sheets attached to                                                                  Subtotal >                  $27,000.17
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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                                                                                                                                                      10/28/2011 09:32:12am
B6F (Official Form 6F) (12/07) - Cont.
  In re William Stehl                                                                                                 Case No.
                                                                                                                                 (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                   AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                      CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 4465420194086883                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
Wells Fargo USA                                                                           Credit Card                                                         $13,623.34
PO Box 30086                                                                              REMARKS:
                                                                      -
Los Angeles, CA 90030



ACCT #: 604870000621****                                                                  DATE INCURRED:
                                                                                          CONSIDERATION:
WF Fin Cards                                                                              Credit Card                                                          $5,190.00
MAC 4031-080                                                                              REMARKS:
                                                                      -
800 Walnut St
Des Moines, IA 50309

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Required Notification
PO BOX 7346                                                                               REMARKS:
PHILADELPHIA, PA 19101-7346




Sheet no. __________
              4        of __________
                               4     continuation sheets attached to                                                               Subtotal >                  $18,813.34
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                           $172,416.73
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)




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                                                                                                                       10/28/2011 09:32:12am
B6G (Official Form 6G) (12/07)
   In re William Stehl                                                                  Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


þ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




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B6H (Official Form 6H) (12/07)
In re William Stehl                                                                                Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR




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B6I (Official Form 6I) (12/07)
In re William Stehl                                                                              Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s):                 Age(s):             Relationship(s):                            Age(s):
           Single




 Employment:                      Debtor                                                     Spouse
 Occupation                      Director Customer Service
 Name of Employer                Fueling Technologies
 How Long Employed               8 years
 Address of Employer             13450 NE 177th Place
                                 Woodinville, WA 98072

INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                   $4,166.67
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                     $4,166.67
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                  $520.00
   b. Social Security Tax                                                                                         $109.98
   c. Medicare                                                                                                     $60.43
   d. Insurance                                                                                                     $0.00
   e. Union dues                                                                                                    $0.00
   f. Retirement                                                                                                    $0.00
   g. Other (Specify) L&I Employee                                                                                 $57.18
   h. Other (Specify)                                                                                               $0.00
   i. Other (Specify)                                                                                               $0.00
   j. Other (Specify)                                                                                               $0.00
   k. Other (Specify)                                                                                               $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 $747.59
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $3,419.08
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00
8.  Income from real property                                                                                        $0.00
9.  Interest and dividends                                                                                           $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00
12. Pension or retirement income                                                                                     $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00
      b.                                                                                                             $0.00
      c.                                                                                                             $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $3,419.08
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                $3,419.08
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
None.




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B6J (Official Form 6J) (12/07)
  IN RE: William Stehl                                                                          Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $1,299.00
    a. Are real estate taxes included?        þ Yes      ¨ No
    b. Is property insurance included?        þ Yes      ¨ No
 2. Utilities: a. Electricity and heating fuel                                                                                                $96.05
               b. Water and sewer
               c. Telephone                                                                                                                   $60.00
               d. Other: Cellular                                                                                                            $150.00
 3. Home maintenance (repairs and upkeep)                                                                                                     $75.00
 4. Food                                                                                                                                     $350.00
 5. Clothing                                                                                                                                  $25.00
 6. Laundry and dry cleaning                                                                                                                  $46.00
 7. Medical and dental expenses                                                                                                              $125.00
 8. Transportation (not including car payments)                                                                                              $300.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $75.00
 10. Charitable contributions
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life                                                                                                                           $243.54
           c. Health
           d. Auto                                                                                                                           $150.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto:                                                                                                                        $212.27
             b. Other: Water Testing and Expenses on Well                                                                                     $20.00
             c. Other: Satellite Internet                                                                                                     $69.99
             d. Other: Satellite Cable                                                                                                       $115.00
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other:
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $3,411.85
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: The Debtor had a major reduction in income in July 2011 - reducing his income to $50,000 a year on July 22, 2011.
              The Debtor has been working on a loan modification - with a state mediation set for Nov 3, 2011. A Ch 7 filing will

 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $3,419.08
 b. Average monthly expenses from Line 18 above                                                                                           $3,411.85
 c. Monthly net income (a. minus b.)                                                                                                          $7.23




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B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF WASHINGTON
                                                     SEATTLE DIVISION
   In re William Stehl                                                               Case No.

                                                                                     Chapter      7



                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                 OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                 $145,500.00


 B - Personal Property                           Yes      5                  $13,240.14


 C - Property Claimed                            Yes      1
     as Exempt
 D - Creditors Holding                           Yes      3                                           $243,328.55
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      2                                             $4,714.05
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      5                                           $172,416.73
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                   $3,419.08
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      1                                                                   $3,411.85
    Individual Debtor(s)

                                             TOTAL        21                $158,740.14               $420,459.33




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Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
    In re William Stehl                                                               Case No.

                                                                                      Chapter       7



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                               $4,714.05
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                  $76,903.36

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $81,617.41

State the following:

 Average Income (from Schedule I, Line 16)                                     $3,419.08

 Average Expenses (from Schedule J, Line 18)                                   $3,411.85

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $5,313.21

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $89,170.55

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $4,714.05

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $172,416.73

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $261,587.28




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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re William Stehl                                                                    Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                    23
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 10/28/2011                                              Signature    /s/ William Stehl
                                                                         William Stehl

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.

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B7 (Official Form 7) (04/10)                    UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                          SEATTLE DIVISION
   In re:   William Stehl                                                                            Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $78,434.00                  2010 - Gross Income from Wages

        $55,922.88                  2011 - YTD Approximate Gross Income from Wages at Fueling Technologies, Inc.

        $74,300.00                  2009 - Approximate Gross Income from Wages

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 ¨     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        OneMain Financial Customer Care                                  Monthly                 $212.74
        NTBS-2320                                                        payment
        6801 Colwell Blvd.
        Irving, TX. 75039

None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 þ     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WASHINGTON
                                                         SEATTLE DIVISION
   In re:   William Stehl                                                                          Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 ¨     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
                                                                        FORECLOSURE SALE,                DESCRIPTION AND VALUE
        NAME AND ADDRESS OF CREDITOR OR SELLER                          TRANSFER OR RETURN               OF PROPERTY
        Northwest Trustee Services, Inc.                                Set for                          Residence, located at:
        PO Box 997                                                      11/3/2011
        Bellevue, WA 98009-0997                                                                          52215 S. Riverside Rd.
                                                                                                         Gold Bar, WA 98251

       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR               AND VALUE OF PROPERTY
        Seattle Debt Law, LLC                                         3/31/2011 ($3000 for            $4,800 for atty fees - $200 for
        705 Second Ave, Ste. 1050                                     Bankruptcy fees);               mediation.
        Seattle, WA 98104                                             8/18/2011 ($1800 for
                                                                      atty fees for Mediation);
                                                                      8/18/2011 - $200 for
                                                                      state mediation fee.


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B7 (Official Form 7) (04/10) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WASHINGTON
                                                         SEATTLE DIVISION
   In re:   William Stehl                                                                          Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 þ     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 ¨     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Wells Fargo Checking                                          0515                                      $2.41 - closed in Sept
                                                                                                                2011

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




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B7 (Official Form 7) (04/10) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                          SEATTLE DIVISION
   In re:   William Stehl                                                                           Case No.
                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ




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B7 (Official Form 7) (04/10) - Cont.      UNITED STATES BANKRUPTCY COURT
                                           WESTERN DISTRICT OF WASHINGTON
                                                    SEATTLE DIVISION
   In re:   William Stehl                                                                  Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 4



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 10/28/2011                                                Signature         /s/ William Stehl
                                                               of Debtor         William Stehl

Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571




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  B 8 (Official Form 8) (12/08)

                                                 UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                         SEATTLE DIVISION
  IN RE:    William Stehl                                                                CASE NO

                                                                                         CHAPTER      7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                            Describe Property Securing Debt:
 BAC Home Loans Servicing, LP                                                Residence
 7105 Corporate Dr
 Mail Stop TX2-982-03-03
 Plano, TX 75024
 208737925



 Property will be (check one):
    ¨ Surrendered                 þ   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      þ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               ¨   Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                            Describe Property Securing Debt:
 BAC Home Loans Servicing, LP                                                Residence
 7105 Corporate Dr
 Mail Stop TX2-982-03-03
 Plano, TX 75024
 20873****



 Property will be (check one):
    ¨ Surrendered                 þ   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      þ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               ¨   Not claimed as exempt




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 B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WASHINGTON
                                                        SEATTLE DIVISION
 IN RE:    William Stehl                                                                   CASE NO

                                                                                           CHAPTER      7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                             Continuation Sheet No. 1


Property No.   3

Creditor's Name:                                                               Describe Property Securing Debt:
BAC Home Loans Servicing, LP                                                   Residence
7105 Corporate Dr
Mail Stop TX2-982-03-03
Plano, TX 75024
2741****



Property will be (check one):
   ¨ Surrendered                 þ   Retained

If retaining the property, I intend to (check at least one):
     ¨ Redeem the property
     þ Reaffirm the debt
     ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



Property is (check one):
   ¨ Claimed as exempt               ¨   Not claimed as exempt


Property No.   4

Creditor's Name:                                                               Describe Property Securing Debt:
CitiFinancial                                                                  1996 Jeep Grand Cherokee
PO Box 183178
Columbus, OH43218-3178
67470132-0126839




Property will be (check one):
   ¨ Surrendered                 þ   Retained

If retaining the property, I intend to (check at least one):
     ¨ Redeem the property
     þ Reaffirm the debt
     ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



Property is (check one):
   ¨ Claimed as exempt               ¨   Not claimed as exempt




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  B 8 (Official Form 8) (12/08)

                                                 UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                         SEATTLE DIVISION
  IN RE:    William Stehl                                                                    CASE NO

                                                                                             CHAPTER     7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                              Continuation Sheet No. 2


 Property No.   5

 Creditor's Name:                                                               Describe Property Securing Debt:
 Green Tree                                                                     Residence
 PO Box 94710
 Palatine, IL 60094-4710
 89809539




 Property will be (check one):
    ¨ Surrendered                 þ   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      þ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               ¨   Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                              Describe Leased Property:                       Lease will be Assumed pursuant to
 None                                                                                                        11 U.S.C. § 365(p)(2):

                                                                                                             YES   ¨          NO   ¨




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 10/28/2011                                                    Signature    /s/ William Stehl
                                                                               William Stehl




Date                                                               Signature




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B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF WASHINGTON
                                                SEATTLE DIVISION
In re William Stehl                                                                       Case No.

                                                                                          Chapter            7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

William Stehl                                                       X    /s/ William Stehl                               10/28/2011
                                                                        Signature of Debtor                              Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)               Date


Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.




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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $39 administrative fee: Total fee $274)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $39 administrative fee: Total fee $239)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.


Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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                                           WESTERN DISTRICT OF WASHINGTON
                                                   SEATTLE DIVISION
IN RE:     William Stehl                                                                   CASE NO

                                                                                           CHAPTER     7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                    $3,500.00
     Prior to the filing of this statement I have received:                                          $3,000.00
     Balance Due:                                                                                     $500.00

2. The source of the compensation paid to me was:
             þ    Debtor                  ¨    Other (specify)

3. The source of compensation to be paid to me is:
             þ    Debtor                  ¨    Other (specify)

4.   þ   I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

     ¨   I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                      10/28/2011                              /s/ Christina Latta Henry
                         Date                                 Christina Latta Henry                        Bar No. 31273
                                                              Seattle Debt Law, LLC
                                                              705 Second Ave. Suite 1050
                                                              Seattle, WA 98104




      /s/ William Stehl
     William Stehl




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                                      WESTERN DISTRICT OF WASHINGTON
                                              SEATTLE DIVISION
  IN RE:   William Stehl                                                             CASE NO

                                                                                    CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 10/28/2011                                          Signature    /s/ William Stehl
                                                                     William Stehl



Date                                                     Signature




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                     ABN AMRO Mortgage
                     PO Box 9438
                     Gaithersburg, MD 20898



                     American Express
                     P.O.Box 650448
                     Dallas, TX 75265-0448



                     BAC Home Loans Servicing, LP
                     7105 Corporate Dr
                     Mail Stop TX2-982-03-03
                     Plano, TX 75024


                     Capital One
                     PO Box 60599
                     City of Industry, CA 91716



                     Chase
                     PO BOX 15145
                     Wilmington, DE 19850-5145



                     Citi Financial
                     300 St Paul Place
                     BSP13A
                     Baltimore, MD 21202


                     Citibank
                     701 E 60th St N
                     Sioux Falls, SD 57104



                     Citibank Credit Services, Inc.
                     Alliance One Receivables Managment Inc.
                     PO Box 3107
                     Southeastern, PA 19398-3107


                     Citicorp Credit Services
                     Processing Center
                     Des Moines, IA 50364-0001




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                     CitiFinancial
                     PO Box 183178
                     Columbus, OH43218-3178



                     Citifinancial, Inc.
                     221 SE Everett Mall Way M4
                     Everett, WA 98208-3254



                     CR Evergreen II, LLC
                     MS 550
                     PO Box 91121
                     Seattle, WA 98111-9221


                     Dale Galvin
                     6100 219th St SW, Ste 560
                     Mountlake Terrace, WA 98043



                     Department of Commerce
                     1011 Plum Street SE
                     PO Box 42525
                     Olympia, WA 98504-2525


                     FedLoan Servicing
                     PO Box 69184
                     Harrisburg, PA 17106-9184



                     Gauri Shrotriya Locker
                     Routh Crabtree Olsen, PS
                     13555 SE 36th St., Ste 300
                     Bellevue, WA 98006


                     Green Tree
                     PO Box 94710
                     Palatine, IL 60094-4710



                     Green Tree Servicing LLC
                     PO Box 0049
                     Palatine, IL 60055-0049




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                     Internal Revenue Service
                     PO BOX 7346
                     PHILADELPHIA, PA 19101-7346



                     IRS
                     PO Box 7346
                     Philadelphia PA 19101-7346



                     IRS
                     PO Box 21125
                     Philadelphia, PA 19114



                     New Hampshire Education Assistance
                     4 Barrell Court
                     PO Box 2097
                     Concord, NH 03302


                     Northwest Trustee Services, Inc
                     c/o Vonnie McElligott
                     PO Box 997
                     Bellevue, WA 98009-997


                     OneMain Financial Customer Care
                     NTBS-2320
                     6801 Colwell Blvd.
                     Irving, TX. 75039


                     Redwood Eye Clinic
                     17601 140th Ave. NE Ste 200
                     Woodinville, WA 98072



                     Sallie Mae
                     P.O. Box 9500
                     Wilkes-Barre, PA 18773-9500



                     Weinstein and Riley PS
                     PO Box 3978
                     Seattle, WA 98124-0000




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                     Wells Fargo
                     PO BOX 9210
                     DES MOINES, IA 50306



                     Wells Fargo Bank
                     4137 121st St
                     Urbandale, IA 50323



                     Wells Fargo Bank, NA
                     c/o Wells Fargo Card Services
                     Recivery Department
                     PO Box 9210
                     Des Moines, IA 50306

                     Wells Fargo Bank, NA
                     PO Box 10438 MAC X2505-016
                     Des Moines, IA 50306



                     Wells Fargo BK NV
                     PO Box 3117
                     Winston-Salem, NC 27102



                     Wells Fargo Financial
                     PO Box 660041
                     Dallas, TX 75266



                     Wells Fargo Servicing Center
                     Personal Credit Mgmt Payment Processing
                     MAC Q2132-013
                     PO Box 94423
                     Albequerque, NM 87199-9833

                     Wells Fargo USA
                     PO Box 30086
                     Los Angeles, CA 90030



                     WF Fin Cards
                     MAC 4031-080
                     800 Walnut St
                     Des Moines, IA 50309




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